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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiff,                                 8:14CR156
         vs.
                                                                  ORDER
JOSEPH M. HUSS,
                      Defendant.

         The courts records show the Office of the Clerk of Court sent a notice on April
14, 2015 (Filing No. 147) to:      Michael P. Meckna, by electronic filing.     The notice
directed the attorney to pay the 2015/2016 attorney assessment fee, as required by
NEGenR 1.7(h), within thirty days. As of the close of business on May 29, 2015, the
attorney has not complied with the request set forth in the notice from the Office of the
Clerk.


         IT IS ORDERED:
         On or before June 15, 2015, attorney Michael P. Meckna shall pay the
assessment or show cause by written affidavit why he cannot comply with the rules of
the court. Failure to comply with this order will result in the court removing Mr. Meckna
as counsel of record for the defendant.


         Dated this 29th day of May, 2015.

                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
